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                                                                                                  40 West Evergreen Ave., Ste. 104
                                                                                                            Philadelphia, PA 19118
                                                                                                    o. 856.667.0500 f. 856.667.5133


    www.motleyrice.com                                                                                             Michael J. Quirk
                                                                                                                  Licensed in PA and NY
  “I will stand for my client’s rights.                                                                     direct: 610-579-9932
           I am a trial lawyer.”
                                                                                                          mquirk@motleyrice.com
      –Ron Motley (1944–2013)


                                                              October 4, 2024
             By CM/ECF
             Nwamaka Anowi
             Clerk of Court
             United States Court of Appeals
              for the Fourth Circuit
             1100 East Main Street, Suite 501
             Richmond, Virginia 23219

                        Re:        Hanan Elatr Khashoggi v. NSO Group Technologies Limited, et al.
                                   Nos. 23-2234(L) & 23-2241

             Dear Ms. Anowi:

                     Under Rule 28(j), Appellant advises the Court of Hasson v. FullStory, Inc., 114 F.4th 181
             (3d Cir. 2024) (attached). The Third Circuit vacated an order dismissing for lack of personal
             jurisdiction a Pennsylvania plaintiff’s claims that an out-of-state defendant spyware producer
             (FullStory) violated Pennsylvania wiretapping and privacy law where its “Session Replay Code”
             (“SRC”) instantaneously captured his website communications without consent. Id. at 187. The
             court held that it was error not to apply the forum-contacts test for specific personal jurisdiction
             where plaintiff alleged that FullStory wiretapped him in Pennsylvania. Id. at 197. The court
             separately affirmed dismissal for lack of personal jurisdiction of another Pennsylvania plaintiff’s
             claims against a national pizza delivery chain (Papa Johns) for using FullStory’s SRC to surveil
             its customers’ web browsing. It held that although Papa Johns formed contacts by doing business
             in Pennsylvania, its contacts were not connected to plaintiff’s claims because Papa Johns did not
             target its online ordering platform marketing to Pennsylvania. Id. at 193-94. Judge Phipps
             dissented from this holding. Id. at 199 (“[T]he common thread between the defendant, the forum,
             and the litigation is Papa Johns’ use of a session replay code on its website to record online
             consumer activity from a browser in Pennsylvania that was used to place orders from Papa Johns’
             locations in Pennsylvania.”).

                     Hasson supports Appellant’s arguments for reversal. Appellant argues that the district
             court erred by not recognizing that “the place where unlawful interception of electronic data occurs
             is where the data is first captured and rerouted,” here at Appellant’s home in Virginia. Brief for
             Appellant at 27-28 (citing Popa v. Harriet Carter Gifts, Inc., 52 F.4th 121, 131 (3d Cir. 2022)).
             Appellees dispute this argument. Response Brief at 30 (“[T]he ‘point’ at which communications
             were intercepted temporally . . . had nothing to do with the physical location of an interception[.]”).
             Hasson supports Appellant’s position. 114 F.4th at 191 (“[W]e assume, as Schnur claims, that the
             alleged wiretapping occurred on browsers in Pennsylvania.”) (citing Popa); id. at 199 (Phipps, J.
             dissenting) (“[A] wiretap occurs where the browser reroutes the communication.”) (citing Popa).

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                                                       Respectfully submitted,

                                                       /s/ Michael J. Quirk
                                                       Michael J. Quirk
                                                       Michael J. Pendell
                                                       Counsel for Plaintiff-Appellant


        cc:     Counsel of Record (via CM/ECF)
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                                         CERTIFICATE OF SERVICE

                I hereby certify that on October 4, 2024, I electronically filed the foregoing with the Clerk

        of the Court for the United States Court of Appeals for the Fourth Circuit by using the CM/ECF

        system. I certify that all participants in the case are registered CM/ECF users and that service will

        be accomplished by the CM/ECF system.



                                                              /s/ Michael J. Quirk
                                                              Michael J. Quirk
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                           114 F.4th 181                               [3] user's claims lacked strong connection to Pennsylvania,
            United States Court of Appeals, Third Circuit.             and thus, district court did not have specific jurisdiction over
                                                                       company pursuant to traditional test;
            Kenneth HASSON, Individually and on behalf
               of all others similarly situated, Appellant             [4] nonresident producer of code did not expressly aim its
                                    v.                                 tortious conduct at Pennsylvania, and thus, district court
                                                                       lacked specific jurisdiction pursuant to “effects” test; and
                          FULLSTORY, INC.
              Jordan Schnur, Individually and on behalf
                                                                       [5] remand was required for district court to consider whether
              of all others similarly situated, Appellant
                                                                       specific jurisdiction over producer was proper pursuant to
                                   v.                                  traditional test.
           Papa John's International, Inc., d/b/a Papa Johns

                       No. 23-2535, No. 23-2573                        Order in first action vacated and remanded with instructions;
                                    |                                  order in second action affirmed.
                        Argued on April 18, 2024
                                    |                                  Procedural Posture(s): On Appeal; Motion to Dismiss for
                       (Filed: September 5, 2024)                      Lack of Personal Jurisdiction.

     Synopsis
     Background: In first action, user of mattress-sales website,       West Headnotes (21)
     which allegedly deployed code that unlawfully wiretapped
     user, filed action against producer of code for violations
                                                                        [1]     Federal Courts         Related contacts and
     of Pennsylvania's Wiretapping and Electronic Surveillance
                                                                                activities; specific jurisdiction
     Control Act (WESCA) and invasion of privacy. The United
     States District Court for the Western District of Pennsylvania,            “Specific jurisdiction” exists when plaintiff's
     Marilyn J. Horan, J., 2023 WL 4745961, denied user's                       cause of action is related to or arises out of
     motion for jurisdictional discovery and granted producer's                 defendant's contacts with forum.
     motion to dismiss for lack of personal jurisdiction. In second
     action, user of pizza-delivery company's website filed class
     action against company, alleging that company's deployment         [2]     Federal Courts        Personal jurisdiction
     of producer's code on its website violated WESCA and                       District court sitting in diversity can exercise
     constituted invasion of privacy. The District Court, J.                    personal jurisdiction over out-of-state defendant
     Nicholas Ranjan, J., 2023 WL 5529775, granted company's                    to extent permitted by law of forum state.
     motion to dismiss for lack of personal jurisdiction. Website
     users both appealed, and the cases were joined for argument
     and disposition.
                                                                        [3]     Federal Courts       Purpose, intent, and
                                                                                foreseeability; purposeful availment
                                                                                Federal Courts         Related contacts and
     Holdings: The Court of Appeals, Hardiman, Circuit Judge,                   activities; specific jurisdiction
     held that:
                                                                                Under the traditional test for specific personal
                                                                                jurisdiction over a nonresident defendant, the
     [1] nonresident pizza-delivery company did not expressly aim
                                                                                plaintiff must show that the defendant has
     its intentional acts at Pennsylvania, and thus, district court
                                                                                minimum contacts with the forum such that
     lacked specific jurisdiction pursuant to “effects” test;
                                                                                it purposefully availed itself of the privilege
                                                                                of conducting activities within the forum and
     [2] company purposefully availed itself of Pennsylvania
                                                                                invoked the benefits and protections of the
     market, as required for district court to exercise specific
                                                                                forum's laws, and, second, the plaintiff's claims
     jurisdiction under traditional test;


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             must arise out of or relate to at least some of those            The “effects” test and the traditional test for
             contacts, evidencing a strong relationship among                 specific personal jurisdiction over nonresident
             the defendant, the forum, and the litigation.                    defendants have distinct requirements: the
                                                                              effects test requires that the tortious actions of
             1 Case that cites this headnote                                  the defendant have a forum-directed purpose
                                                                              —a requirement that is not applicable in the
      [4]    Federal Courts         Related contacts and                      more traditional specific jurisdiction analysis;
             activities; specific jurisdiction                                and unlike the express requirement in the effects
                                                                              test, the traditional specific jurisdiction analysis
             Under the traditional test for specific personal
                                                                              simply requires that the plaintiff's claims arise
             jurisdiction over a nonresident defendant, the
                                                                              out of or relate to the defendant's forum contacts,
             exercise of jurisdiction over the defendant must
                                                                              which it is not the equivalent of the more
             comport with traditional notions of fair play and
                                                                              demanding relatedness requirement of the effects
             substantial justice such that the defendant should
                                                                              test.
             reasonably anticipate being haled into court in
             that forum.                                                      2 Cases that cite this headnote


                                                                      [9]     Federal Courts        Torts in general
      [5]    Constitutional Law          Non-residents in
             general                                                          “Effects” test for specific personal jurisdiction
                                                                              requires plaintiffs to show that the nonresident
             “Effects” test for assessing specific personal
                                                                              defendant sufficiently directed his tortious
             jurisdiction over a nonresident defendant
                                                                              conduct at the state.
             whose contacts otherwise do not satisfy the
             requirements of due process under the traditional
             test requires a plaintiff to plead facts establishing
             that: (1) the defendant committed an intentional         [10]    Constitutional Law         Services and service
             tort; (2) the plaintiff felt the brunt of the harm in            providers
             the forum; and (3) the defendant expressly aimed                 Federal Courts       Manufacture, Distribution,
             his tortious conduct at the forum. U.S. Const.                   and Sale of Products
             Amend. 14.                                                       Nonresident pizza-delivery company, which
                                                                              operated website that deployed code that
             1 Case that cites this headnote
                                                                              allegedly unlawfully wiretapped users, did
                                                                              not expressly aim its intentional acts at
      [6]    Federal Courts         Personal jurisdiction                     Pennsylvania, and thus, district court lacked
             Court of Appeals reviews de novo the orders                      specific personal jurisdiction over company
             dismissing for lack of personal jurisdiction.                    consistent with due process pursuant to
                                                                              “effects” test, in action by website user for
                                                                              violation of Pennsylvania's Wiretapping and
                                                                              Electronic Surveillance Control Act (WESCA)
      [7]    Federal Courts         Dismissal for lack of
                                                                              and invasion of privacy; although website was
             jurisdiction
                                                                              accessible in Pennsylvania, user was allegedly
             Where the District Court did not hold an
                                                                              harmed there, users could filter restaurants
             evidentiary hearing on personal jurisdiction,
                                                                              geographically, and company had in-forum
             the Court of Appeals takes the plaintiffs'
                                                                              commercial activities relating to restaurants
             factual allegations as true in reviewing an order
                                                                              and selling pizza, company targeted national
             dismissing for lack of personal jurisdiction.
                                                                              audience with product of national appeal, user
                                                                              did not allege company knew he was in
                                                                              Pennsylvania and sent code based on that
      [8]    Federal Courts         Torts in general                          knowledge, company did not obtain geolocation



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             data until after code was sent, and user would                 Stat. Ann. § 5701 et seq.; 42 Pa. Cons. Stat. Ann.
             have been wiretapped regardless of purchasing                  § 5322(b).
             pizza via website. U.S. Const. Amend. 14; 18 Pa.
             Cons. Stat. Ann. § 5701 et seq.; 42 Pa. Cons. Stat.            More cases on this issue
             Ann. § 5322(b).
                                                                    [14]    Constitutional Law          Services and service
             More cases on this issue
                                                                            providers
                                                                            Federal Courts       Manufacture, Distribution,
      [11]   Federal Courts        Torts in general                         and Sale of Products
             “Effects” test for specific personal jurisdiction              Website user's claims that nonresident pizza-
             prevents a nonresident defendant from being                    delivery company unlawfully wiretapped him
             haled into a jurisdiction solely because the                   when it deployed code on its website to
             defendant intentionally caused harm that was                   intercept his online communications lacked
             felt in the forum state if the defendant did not               strong connection to Pennsylvania, and thus,
             expressly aim its conduct at that state.                       district court did not have specific personal
                                                                            jurisdiction over company pursuant to traditional
                                                                            test consistent with due process, in action for
      [12]   Federal Courts        Torts in general                         violation of Pennsylvania's Wiretapping and
             “Effects test” for specific personal jurisdiction              Electronic Surveillance Control Act (WESCA)
             over a nonresident defendant can only be                       and invasion of privacy; while company
             satisfied if the plaintiff can point to contacts               promoted its products in forum, made in-
             which demonstrate that the defendant expressly                 state restaurant sales, and conducted in-state
             aimed its tortious conduct at the forum, and                   marketing activities, user did not allege that
             thereby made the forum the focal point of the                  company promoted its website in Pennsylvania,
             tortious activity.                                             and user's claims did not involve its in-state sales
                                                                            of pizza or its marketing activities. U.S. Const.
             1 Case that cites this headnote                                Amend. 14; 18 Pa. Cons. Stat. Ann. § 5701 et
                                                                            seq.; 42 Pa. Cons. Stat. Ann. § 5322(b).
      [13]   Constitutional Law         Services and service
                                                                            More cases on this issue
             providers
             Federal Courts       Manufacture, Distribution,
                                                                    [15]    Federal Courts         Related contacts and
             and Sale of Products
                                                                            activities; specific jurisdiction
             Nonresident pizza-delivery company, which
                                                                            First half of the standard for specific personal
             operated website that deployed software
                                                                            jurisdiction, under the traditional test, that claims
             that allegedly unlawfully wiretapped users,
                                                                            “arise out of or relate to” the defendant's
             purposely availed itself of Pennsylvania market,
                                                                            conduct with the forum asks about causation,
             as required for district court to exercise specific
                                                                            while the back half contemplates that some
             personal jurisdiction under traditional test in
                                                                            relationships will support jurisdiction without a
             accordance with due process, in action by
                                                                            causal showing, and the degree of relatedness
             website user for violation of Pennsylvania's
                                                                            required in a given case is inversely proportional
             Wiretapping and Electronic Surveillance Control
                                                                            to the overall intensity of the defendant's forum
             Act (WESCA) and invasion of privacy; company
                                                                            contacts.
             maintained approximately 85 physical restaurant
             locations in forum, regularly marketed and
             advertised its goods and services within forum,
             and regularly conducted business with forum            [16]    Constitutional Law          Services and service
             residents to sell pizza and other products via its             providers
             website. U.S. Const. Amend. 14; 18 Pa. Cons.


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             Federal Courts       Manufacture, Distribution,                  forum, without more, does not establish that
             and Sale of Products                                             the company targeted (or expressly aimed its
             Nonresident producer of code that allegedly                      conduct at) the forum, as required to support the
             unlawfully wiretapped users of mattress-sales                    exercise of specific personal jurisdiction under
             website did not expressly aim its tortious                       the “effects” test.
             conduct at Pennsylvania, and thus, district
             court lacked specific personal jurisdiction
             over producer consistent with due process                [20]    Federal Courts       Manufacture, Distribution,
             pursuant to “effects” test, in action by                         and Sale of Products
             website user for violation of Pennsylvania's                     District court should have considered whether
             Wiretapping and Electronic Surveillance Control                  specific personal jurisdiction was proper under
             Act (WESCA) and invasion of privacy; even                        traditional test, upon determining that it was
             though producer knew website operator made                       not justified under “effects” test, and thus
             its website accessible in Pennsylvania, user                     vacatur of dismissal for lack of personal
             was allegedly harmed there, and producer                         jurisdiction and remand was warranted, in
             collected geolocation data showing that code was                 action by user of mattress-sales website,
             intercepting data from users in Pennsylvania,                    which allegedly deployed code that unlawfully
             there was no indication Pennsylvania was                         wiretapped user, against nonresident producer
             targeted with forum-centric themes or ads, and                   of code for violation of Pennsylvania's
             user did not assert that producer knew that he was               Wiretapping and Electronic Surveillance Control
             in Pennsylvania before code was dispatched to                    Act (WESCA) and invasion of privacy; “effects”
             his browser. U.S. Const. Amend. 14; 18 Pa. Cons.                 test traditionally applied where allegedly tortious
             Stat. Ann. § 5701 et seq.; 42 Pa. Cons. Stat. Ann.               conduct occurred outside forum but was felt
             § 5322(b).                                                       inside forum, producer allegedly wiretapped
                                                                              user inside Pennsylvania, and while producer's
             More cases on this issue
                                                                              contacts with other Pennsylvania clients who
                                                                              might be using its software might be irrelevant
      [17]   Federal Courts         Torts in general                          to establishing specific jurisdiction under the
             While a nonresident defendant's knowledge that                   effects test's “express-aiming” rubric, it was
             the plaintiff is located in the forum is necessary               possible that user's claims related to such
             to the application of the “effects” test for                     contacts under the traditional test. 18 Pa. Cons.
             establishing specific personal jurisdiction, that                Stat. Ann. § 5701 et seq.
             alone is insufficient to satisfy the targeting prong
                                                                              1 Case that cites this headnote
             of the effects test.
                                                                              More cases on this issue


      [18]   Federal Courts         Torts in general                  [21]    Federal Courts      Failure to mention or
                                                                              inadequacy of treatment of error in appellate
             Jurisdiction over an out-of-state intentional
                                                                              briefs
             tortfeasor under the “effects” test must be based
             on intentional conduct by the defendant that                     User of mattress-sales website, which allegedly
             creates the necessary contacts with the forum,                   deployed code that unlawfully wiretapped user,
             not the unilateral activity of a plaintiff or a third            did not waive or forfeit argument that district
             person.                                                          court should have applied traditional test for
                                                                              specific personal jurisdiction over nonresident
                                                                              producer of code if it found jurisdiction lacking
                                                                              under “effects” test, on appeal of dismissal of
      [19]   Federal Courts         Torts in general
                                                                              claims for lack of personal jurisdiction in action
             A nonresident defendant's post hoc discovery
                                                                              against producer for violation of Pennsylvania's
             that the tortious conduct was received in the


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             Wiretapping and Electronic Surveillance Control
             Act (WESCA) and invasion of privacy; although
             user noted in his opposition brief that the
                                                                                                     I
             Supreme Court had articulated an “effects test”
             for specific jurisdiction in tort cases, he did not       We begin by describing the technology at issue. FullStory's
             argue that court had to apply only that test, but         Session Replay Code enables companies like Papa Johns to
             rather he argued that jurisdiction was also proper        collect detailed information about the way visitors interact
             under the traditional purposeful-availment test.          with its website. The website “delivers” the code “to a
             18 Pa. Cons. Stat. Ann. § 5701 et seq.                    user's browser,” which “follow[s] the code's instructions by
                                                                       sending ... data to a ... third-party server.” Hasson App. 29.
                                                                       The data encompasses “virtually every user action, including
                                                                       all mouse movements, clicks, scrolls, zooms, window resizes,
                                                                       keystrokes, text entry, and numerous other forms of a user's
     *185 On Appeal from the United States District Court for the      navigation and interaction through the website.” Id.
     Western District of Pennsylvania (D.C. No. 2-22-cv-01246),
     District Judge: Honorable Marilyn J. Horan                        The information is intercepted—without the user's knowledge
                                                                       or consent—the moment he accesses the website. And text
     On Appeal from the United States District Court for the
                                                                       entries on the website are captured even if *186 the user
     Western District of Pennsylvania (D.C. No. 2-22-cv-01620),
                                                                       fails “to click ... ‘submit’ or ‘enter.’ ” Id. at 30. Users'
     District Judge: Honorable J. Nicholas Ranjan
                                                                       internet protocol addresses and location information can
     Attorneys and Law Firms                                           also be identified. Vendors and website operators use the
                                                                       data to recreate a user's entire browsing session on that
     Gary F. Lynch, Jamisen A. Etzel [Argued], Lynch Carpenter,        website. FullStory receives and analyzes the harvested data
     LLP, 1133 Penn Avenue, 5th Floor, Pittsburgh, PA 15222,           for its clients, who use the information to improve website
     Counsel for Appellants                                            functionality and user experience.

     Emily Johnson Henn, Covington and Burling LLP, 3000
                                                                       The question presented in both cases is whether the
     El Camino Real, 5 Palo Alto Square, 10th Floor, Palo
                                                                       deployment of Session Replay Code in Pennsylvania makes
     Alto, CA 94306, Peter S. Wolff, Pietragallo Gordon Alfano
                                                                       FullStory and Papa Johns amenable to jurisdiction there.
     Bosick & Raspanti, 301 Grant Street, One Oxford Centre,38th
                                                                       The parties agree that the claims implicate only specific,
     Floor, Pittsburgh, PA 15219, Mark W. Mosier [Argued],
                                                                       not general, jurisdiction. See O'Connor v. Sandy Lane Hotel
     Eric C. Bossett, Kendall T. Burchard, Grace Pyo, Covington
                                                                       Co., 496 F.3d 312, 317 (3d Cir. 2007) (citing Helicopteros
     & Burling LLP, One CityCenter, 850 Tenth Street, NW,
                                                                       Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 414–15
     Washington, DC 20001, Counsel for Appellees
                                                                       & n.9, 104 S.Ct. 1868, 80 L.Ed.2d 404 (1984)).
     Before: HARDIMAN, PHIPPS, and SMITH, Circuit Judges.
                                                                        [1]    [2] Specific jurisdiction exists when the “plaintiff's
                                                                       cause of action is related to or arises out of the defendant's
                                                                       contacts with the forum.” Pinker v. Roche Holdings Ltd., 292
                     OPINION OF THE COURT
                                                                       F.3d 361, 368 (3d Cir. 2002) (citation omitted). A district
     HARDIMAN, Circuit Judge.                                          court sitting in diversity can exercise personal jurisdiction
                                                                       over an out-of-state defendant to the extent permitted by the
     These appeals come to us from the District Courts' orders         law of the forum state. Metcalfe v. Renaissance Marine, Inc.,
     dismissing two class actions for lack of personal jurisdiction.   566 F.3d 324, 330 (3d Cir. 2009); see also Fed. R. Civ. P.
     In the first case, Kenneth Hasson sued FullStory, Inc.,           4(k)(1)(A). Pennsylvania's long-arm statute permits personal
     claiming that the company unlawfully wiretapped him when          jurisdiction “based on the most minimum contact with th[e]
     it deployed a script of computer code—known as Session            Commonwealth allowed under the Constitution of the United
     Replay Code—to intercept his online communications. In the        States.” 42 Pa. Cons. Stat. § 5322(b).
     second case, Jordan Schnur sued Papa John's International,
     Inc. for its use of FullStory's Session Replay Code.



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     The Supreme Court has articulated two tests for specific          proper in California based on the ‘effects’ of their ... conduct
     jurisdiction: (1) the “traditional” test—also called the          in California.” Id. at 789, 104 S.Ct. 1482.
     “minimum contacts” or purposeful availment test, Burger
     King Corp. v. Rudzewicz, 471 U.S. 462, 474, 105 S.Ct. 2174,     [5] Courts have applied Calder's “effects” test to assess
     85 L.Ed.2d 528 (1985) (quoting Int'l Shoe Co. v. State of      personal jurisdiction over an intentional tortfeasor whose
     Wash., Off. of Unemployment Comp. & Placement, 326 U.S.        “contacts with the forum ... otherwise [do] not satisfy the
     310, 316, 66 S.Ct. 154, 90 L.Ed. 95 (1945)); and (2) the       requirements of due process” under the traditional test. IMO
     “effects” test, see Calder v. Jones, 465 U.S. 783, 787 & n.6,  Indus., Inc. v. Kiekert AG, 155 F.3d 254, 265 (3d Cir. 1998). In
     104 S.Ct. 1482, 79 L.Ed.2d 804 (1984).                         such cases, personal jurisdiction may be proper if the forum
                                                                    is the “focus” of the defendant's tortious conduct. Id. (quoting
      [3] [4] Under the traditional test, the plaintiff must show Keeton v. Hustler Mag., Inc., 465 U.S. 770, 780, 104 S.Ct.
     that the defendant has “minimum contacts” with the forum       1473, 79 L.Ed.2d 790 (1984)). Unlike the traditional test,
     such that it “purposefully avail[ed] itself of the privilege   the Calder “effects” test requires a plaintiff to plead facts
     of conducting activities within the forum” and “invoke[ed]     establishing that: (1) the defendant committed an intentional
     the benefits and protections of [the forum's] laws.” Toys      tort; (2) the plaintiff felt the brunt of the harm in the forum;
     “R” Us, Inc. v. Step Two, S.A., 318 F.3d 446, 451 (3d          and (3) the defendant expressly aimed his tortious conduct at
     Cir. 2003) (quoting Asahi Metal Indus. Co. v. Superior         the forum. See Remick v. Manfredy, 238 F.3d 248, 258 (3d
     Court of California, 480 U.S. 102, 109, 107 S.Ct. 1026,        Cir. 2001).
     94 L.Ed.2d 92 (1987)). Second, the plaintiff's claims must
     “arise out of or relate to” at least some of those contacts,
     O'Connor, 496 F.3d at 317 (quoting Helicopteros, 466 U.S.
                                                                                                     A
     at 414, 104 S.Ct. 1868), evidencing “a strong relationship
     among the defendant, the forum, and the litigation,” Hepp      In the first appeal, Hasson alleged that FullStory's
     v. Facebook, 14 F.4th 204, 208 (3d Cir. 2021) (internal        use of Session Replay Code violated Pennsylvania's
     quotations omitted) (citing Ford Motor Co. v. Montana Eighth   Wiretapping and Electronic Surveillance Control Act
     Jud. Dist. Ct., 592 U.S. 351, 365, 141 S.Ct. 1017, 209 L.Ed.2d (“WESCA”), 18 Pa. Cons. Stat. § 5701, et seq., and
     225 (2021)). Finally, the exercise of jurisdiction over the    invaded his privacy in violation of the common law. Hasson
     defendant must “comport[ ] with traditional notions of fair    alleged that while he browsed Mattress Firm's website,
     play and substantial justice” such that “the defendant ‘should FullStory's Session Replay Code “instantaneously captured
     reasonably anticipate being haled into court’ in that forum.”  his [w]ebsite [c]ommunications” “without his consent,”
     Toys, 318 F.3d at 451 (quoting World–Wide Volkswagen Corp.     including “information about his device, browser, and
     v. Woodson, 444 U.S. 286, 297, 100 S.Ct. 559, 62 L.Ed.2d       geolocation,” while also “creat[ing] a unique ID and profile
     490 (1980)).                                                   for him.” Hasson App. 40. He claims the code allowed
                                                                       FullStory to collect “his personal information ... including
     Direct in-forum activities are not the only means of              name, address, email address, and payment information.”
     establishing personal jurisdiction over an out-of-state           Hasson App. 44.
     defendant. For example, in Calder v. Jones, the Supreme
     Court confronted tortfeasors who—despite minimal contacts         FullStory moved to dismiss Hasson's complaint under Rule
     in California—intentionally caused harm there. See 465 U.S.       12(b)(2) of the Federal Rules of Civil Procedure for lack of
     783, 104 S.Ct. 1482, 79 L.Ed.2d 804 (1984). Though the            personal jurisdiction because, although Hasson is a resident
     defendant news editors had *187 few “relevant contacts”           of Pennsylvania, FullStory is a Delaware corporation with
     with California, id. at 786, 104 S.Ct. 1482, the Court            its principal place of business in Georgia. Hasson opposed
     emphasized that the editors “impugned ... an entertainer ...      the motion and sought jurisdictional discovery to determine
     centered in California[,]” “dr[ew] from California sources,       whether FullStory had sufficient contacts with Pennsylvania
     and the brunt of the harm ... was suffered in California” such    to satisfy the requirements of personal jurisdiction.
     that “California [was] the focal point both of the story and of
     the harm suffered,” id. at 788–89, 104 S.Ct. 1482. Thus, the      The District Court denied Hasson's motion for jurisdictional
     Court held that “[j]urisdiction over [the defendants] [was] ...   discovery and granted FullStory's motion to dismiss. It
                                                                       concluded that Hasson failed to satisfy the “effects” test for



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     specific personal jurisdiction under Calder because he “pled      We turn first to Schnur's claims against Papa Johns. Schnur
     insufficient facts to demonstrate that FullStory expressly        argues the District Court erred when it dismissed for
     aimed its conduct at Pennsylvania through the Mattress Firm       lack of jurisdiction under the Calder “effects” test without
     website.” Hasson v. FullStory, Inc., 2023 WL 4745961, at          first considering whether jurisdiction was proper under the
     *2 (W.D. Pa. July 25, 2023). Hasson filed this timely appeal      traditional purposeful availment test. He contends jurisdiction
     asking us to reverse the District Court's order or, in the        is proper under the “effects” test or, alternatively, under the
     alternative, to vacate and remand with instructions to order      traditional test—which he views as the appropriate test given
     jurisdictional discovery.                                         Papa Johns' extensive business contacts in Pennsylvania.
                                                                       Stated simply, Schnur argues that the Calder test cannot
                                                                       be invoked to deny personal jurisdiction over a suit that
                                                                       otherwise satisfies the traditional test.
                                   B

     In the second appeal, Schnur, a Pennsylvania resident, filed      The District Court held that Schnur's allegations could not
     a class action against Papa Johns, a Delaware corporation         satisfy Calder because Papa Johns did not expressly aim
     with its principal place of business in Georgia. Schnur filed     Session Replay Code at Pennsylvania and Schnur did not
     wiretapping and invasion of *188 privacy claims like those        suffer the brunt of his alleged harm in Pennsylvania. See
     Hasson brought against FullStory. Unlike Hasson, who sued         Schnur, 2023 WL 5529775, at *2–3. Schnur counters that the
     the company that produced the code that attached to his           District Court erred because the traditional test is the proper
     browser, Schnur sued the company operating the website that       jurisdictional standard while Calder is “typically invoked
     deployed the code onto his browser.                               where,” unlike here, “the conduct ... form[ing] the basis for
                                                                       the controversy occurs entirely out-of-forum.” Schnur Br. 47
     Papa Johns maintains “approximately 85 brick-and-mortar           (citation omitted). Because Papa Johns has extensive business
     locations in Pennsylvania” and “regularly markets and             contacts in Pennsylvania and deployed Session Replay Code
     advertises its goods and services within Pennsylvania.”           into the forum, Schnur contends that the District Court
     Schnur App. 29 (footnote omitted). Schnur alleged that,           should have applied the traditional test first. Under that test,
     while in Pennsylvania, he visited Papa Johns' website on his      Schnur argues, jurisdiction is proper because Papa Johns
     computer to order food. In doing so, he “communicated with        purposefully availed itself of the privilege of doing business
     Papa John's by entering a delivery address[,] ... searching for   in Pennsylvania *189 and Schnur's wiretapping claims arise
     a nearby carryout location in Pennsylvania[,]” and selecting      out of the company's contacts there.
     “what type of pizza he wanted to order.” Schnur App. 43.
                                                                       In sum, Schnur contends that courts need not apply the
     Papa Johns moved to dismiss for lack of personal jurisdiction.    “effects” test to all intentional tort claims and, even if the
     The District Court granted the motion, finding that because       District Court did so, personal jurisdiction still lies here
     Papa Johns' website was “generally available to everyone,         because Calder's “effects” test is more plaintiff-friendly than
     no matter where they are located,” Schnur failed to allege        the traditional test. Papa Johns counters that courts must apply
     that the company expressly aimed Session Replay Code at           the “effects” test to intentional tort claims, and that the District
     Pennsylvania. Schnur v. Papa John's Int'l, Inc., 2023 WL          Court correctly held that Schnur could not satisfy Calder's
     5529775, at *3 (W.D. Pa. Aug. 28, 2023). The District Court       express aiming prong. We agree that Schnur's allegations do
     also held that Schnur's complaint failed to establish specific    not satisfy the requirements for personal jurisdiction under
     personal jurisdiction under the “traditional” test because        Calder.
     Schnur's wiretapping claims did not arise out of or relate to
     Papa Johns' marketing and sale of pizza in Pennsylvania.  [8] While the “effects” test and the traditional test “are cut
                                                              from the same cloth,” they have distinct requirements. Marten
     [6]    [7] Hasson and Schnur filed timely appeals and we v. Godwin, 499 F.3d 290, 297 (3d Cir. 2007). As we explained:
     joined the cases for argument and disposition. 1

                                                                                    [T]he effects test ... require[s] that
                                                                                    the tortious actions of the defendant
                                   II                                               have a forum-directed purpose[—a



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                  requirement that] is not applicable                    we have stressed that “Calder [did not] carve out a
                  in the more traditional specific                       special intentional torts exception to the traditional specific
                  jurisdiction analysis.... Unlike th[e]                 jurisdiction analysis.” IMO Indus., 155 F.3d at 265. And as
                  express requirement in the effects                     Plaintiffs accurately note, the “effects” test has often been
                  test, the traditional specific jurisdiction            applied where the alleged tortfeasor has de minimis contacts
                  analysis simply requires that the                      with the forum, see Marten, 499 F.3d at 297, or where the
                  plaintiff's claims arise out of or relate              tortious conduct occurs primarily “outside the forum” but
                  to the defendant's forum contacts.                     has an “effect ... within the forum,” IMO Indus., 155 F.3d at
                  We do not agree with the argument                      261. In any case, we agree with the *190 District Court that
                  that this traditional requirement is the               Schnur's complaint fails under both tests.
                  equivalent of the more demanding
                  relatedness requirement of the effects
                  test.
                                                                                                        A

                                                                          [10] The District Court held that Schnur did not satisfy
     Miller Yacht Sales, Inc. v. Smith, 384 F.3d 93, 99 (3d Cir.         Calder's “effects” test because he did not allege that Papa
     2004) (emphasis added) (cleaned up).                                Johns expressly aimed Session Replay Code at Pennsylvania.
                                                                         We agree. Schnur alleged that Papa Johns “knowingly armed
      [9] Schnur incorrectly asserts that the “effects” test imposes     [its] website with software that initiates a broad-spectrum
     a universally lower jurisdictional hurdle. As Miller Yacht          wiretap” and that this conduct “led to [his] lawsuit being
     demonstrates, it requires plaintiffs to show that the defendant     filed.” Dist. Ct. Dkt. No. 31, at 10. But Schnur did not allege
     “sufficiently directed his tortious conduct at the state,” id.—     that Papa Johns' website is accessible only in Pennsylvania,
     a burden that differs in key respects from the traditional          that the company deploys Session Replay Code only to users
     test. Because specific jurisdiction is “claim specific,” Remick,    who access the site while in Pennsylvania, or that the website
     238 F.3d at 255, it is not uncommon for a court to dismiss          tailors its content in any meaningful way to Pennsylvanians.
     intentional tort claims for want of jurisdiction under the          Rather, Schnur admits that Papa Johns targets a “national
     “effects” test while finding jurisdiction proper as to other        audience” “to drive customers to its website.” Schnur App.
     claims under the traditional test. See, e.g., id. at 256–57, 260.   39. And we, like several sister courts, have held that a
     In sum, the “effects” test may be more lenient in some respects     defendant does not expressly target a forum merely by
     and stricter in others, depending on the facts and claims at        operating a website that is accessible there—even when
     issue.                                                              the plaintiff alleges harm in that forum arising out of his
                                                                         engagement with that website.
     That said, we are skeptical of Defendants' assertion that our
     precedents require courts to apply Calder's “effects” test          For instance, in Remick, a Pennsylvania plaintiff asserted
     exclusively to intentional tort claims. As Plaintiffs note, the     intentional tort claims against an out-of-state website operator
     Supreme Court applied a traditional jurisdictional analysis         for posting a photo of the plaintiff on the site without
     in Keeton v. Hustler Magazine, Inc., which concerned libel          permission. See 238 F.3d at 259. We reasoned that the “effects
     claims. 465 U.S. 770, 772–81, 104 S.Ct. 1473, 79 L.Ed.2d            test’ [was] clearly not satisfied” because “the website was
     790 (1984). The Keeton Court noted that the defendant had           intended to provide information on [the defendant] and ...
     “circulate[ed] magazines throughout the state” and transacted       was accessible worldwide.” Id. So “there [was] no basis to
     “regular monthly sales of thousands of magazines” there.            conclude that the defendants expressly aimed their allegedly
     Id. at 774, 104 S.Ct. 1473. The Court applied a traditional         tortious activity at Pennsylvania knowing that harm was
     “minimum contacts” analysis and concluded that jurisdiction         likely to be caused there.” Id. Our reasoning in Remick applies
     was proper in New Hampshire because plaintiffs' claims were         to Schnur's claims here.
     “based on” the magazine's sales and subscriptions in the state.
     Id.                                                                 By contrast, courts have found express aiming where, unlike
                                                                         here, the website is “targeted at a particular jurisdiction.”
     Indeed, while we have often applied the Calder framework            Toys, 318 F.3d at 452 (cleaned up). Such targeting can be
     in assessing personal jurisdiction over intentional tortfeasors,    evidenced by content bearing a particular nexus to that forum



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     or location-specific advertisements. See Advanced Tactical        virtual ‘presence’ and conduct translate into ‘contacts’ with a
     Ordnance Sys., LLC v. Real Action Paintball, Inc., 751 F.3d       particular State.” Walden v. Fiore, 571 U.S. 277, 290 n.9, 134
     796, 803 (7th Cir. 2014); Shrader v. Biddinger, 633 F.3d 1235,    S.Ct. 1115, 188 L.Ed.2d 12 (2014). So we decline to hold that
     1241 (10th Cir. 2011). For example, in Mavrix Photo, Inc.         Papa Johns' use of Session Replay Code constitutes a physical
     v. Brand Techs., Inc., the Ninth Circuit held that California     entry into Pennsylvania sufficient to support the exercise of
     had specific jurisdiction over a Florida-based celebrity photo    jurisdiction.
     website that had “specific[ally] focus[ed] on the California-
     centered celebrity and entertainment industries” and featured      [11] We also reject the argument that Papa Johns expressly
     photos of Californians. 647 F.3d 1218, 1230 (9th Cir. 2011).      targeted Pennsylvania simply because the data interception
     The Ninth Circuit took a contrary view in a copyright             allegedly occurred in the forum. “[T]he effects test prevents a
     infringement case brought by a California plaintiff against a     defendant from being haled into a jurisdiction solely because
     foreign pornography website. See AMA Multimedia, LLC v.           the defendant intentionally caused harm that was felt in
     Wanat, 970 F.3d 1201 (9th Cir. 2020). The court contrasted        the forum state if the defendant did not expressly aim [its]
     the California-centric content in Mavrix with the pornography     conduct at that state.” Marten, 499 F.3d at 297 (emphasis
     website, determining that the latter “lack[ed] a forum-specific   added). And we are not persuaded that transmitting computer
     focus” because “the market for adult content is global.” Id. at   code to a browser that happens to be in Pennsylvania is an
     1210 (cleaned up).                                                intentional physical entry into the forum sufficient to establish
                                                                       express aiming under Calder. Cf. Carefirst of Maryland, Inc.
     The distinctions made by the Ninth Circuit in these cases         v. Carefirst Pregnancy Ctrs., Inc., 334 F.3d 390, 401 (4th
     support the District Court's dismissal order here. Schnur         Cir. 2003) (Defendant “did not ... direct electronic activity
     neither alleged that *191 Papa Johns' website advertises          into [the forum] with the manifest intent of engaging in
     a product or service bearing any special significance             business or other interactions within that state in particular”
     to Pennsylvania, nor that it features Pennsylvania-centric        by “set[ting] up its generally accessible, semi-interactive
     content. Indeed, pizza has national appeal. 2 So Papa             Internet website.”) (emphasis added).
     Johns did not expressly aim its Session Replay Code at
     Pennsylvania by operating a website that was accessible in        At a minimum, Schnur had to allege that Papa Johns knew
     the forum.                                                        that a given user was in Pennsylvania before it sent the code
                                                                       to that user's browser. See Rosenthal v. Bloomingdales.com,
     Our conclusion is not undercut simply because, as Schnur          LLC, 101 F.4th 90, 98 (1st Cir. 2024). The First Circuit
     alleges, Papa Johns: (1) deployed Session Replay Code into        recently held that Massachusetts did not have personal
     the forum and harmed Pennsylvanians there; (2) allows             jurisdiction over an out-of-state department store chain for
     website users to filter restaurant locations geographically;      similar wiretapping claims. Though the court did not analyze
     and (3) operates 85 restaurants and conducts other business       the plaintiff's allegations under Calder, it concluded that
     activities in the Commonwealth.                                   specific jurisdiction was not proper because, inter alia, the
                                                                       plaintiff failed to prove that “Bloomingdales purposefully
     First, we assume, as Schnur claims, that the alleged              deployed [Session Replay Code] to intentionally target users
     wiretapping occurred on browsers in Pennsylvania. Cf. Popa        in Massachusetts” or that “Bloomingdales knew that it was
     v. Harriet Carter Gifts, Inc., 52 F.4th 121, 131–32 (3d Cir.      targeting [the plaintiff] in Massachusetts” at the time of the
     2022). And we have held “the exercise of personal jurisdiction    alleged wiretapping. Id. at 97 (cleaned up). We conclude that
     over a nonresident” for “an allegedly tortious act committed      Schnur's allegations fail to satisfy Calder's express aiming
     within the forum ... conforms with due process.” Carteret         prong for similar reasons. Schnur did not allege that Papa
     Sav. Bank, FA v. Shushan, 954 F.2d 141, 148 (3d Cir. 1992).       Johns knows that a given user is in Pennsylvania before
     But while Schnur argues “Papa Johns purposefully entered          the code is dispatched to his browser or that Papa Johns
     Pennsylvania and knowingly wiretapped its customers there,”       specifically *192 sends the code because the user is located
     he did not allege that the transmission of Session Replay Code    in Pennsylvania. Rather, Schnur alleged that Session Replay
     onto his browser constituted a physical entry into the forum.     Code was sent to his browser the instant he accessed Papa
     Reply Br. 13. Even if he had, “intentional torts ... committed    Johns' website. He did not allege that Papa Johns knew that
     via the Internet or other electronic means” “present ....         he was in Pennsylvania and subsequently deployed the code
     very different questions [of] whether and how a defendant's       based on that knowledge.



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                                                                         stated, Papa Johns' other in-forum commercial activities—
     And while Schnur asserts that Papa Johns' collection of users'      operating restaurants and selling pizza—do not show that it
     geolocation data shows that the company “inevitab[ly] ...           expressly aimed Session Replay Code at Pennsylvania.
     knows it is capturing ... the [w]ebsite [c]ommunications
     of Pennsylvania residents,” Schnur App. 42, “ultimately             For all these reasons, the District Court did not err when
     learn[ing]” of the Plaintiffs' location after the fact does         it held that Schnur failed to plead facts sufficient to render
     not, in this case, satisfy the “effects” test's “intentionality     Papa Johns amenable to personal jurisdiction in Pennsylvania
     requirement,” Toys, 318 F.3d at 454–55 nn. 5, 6. Because            under the Calder “effects” test. 3
     “Calder requires more,” a “defendant accused of an
     intentional tort” is not “subject to personal jurisdiction in
     the plaintiff's home state as soon as the defendant learns
     what that state is.” Mobile Anesthesiologists Chicago, LLC v.                                   *193 B
     Anesthesia Assocs. of Houston Metroplex, P.A., 623 F.3d 440,
                                                                          [13] Schnur also contends that jurisdiction over Papa Johns
     447 (7th Cir. 2010).
                                                                         is proper under the traditional test as articulated in Ford
                                                                         Motor. That test requires Schnur to show that Papa Johns
     Furthermore, Papa Johns did not expressly aim Session
                                                                         “purposefully avail[ed] itself of the privilege of conducting
     Replay Code at Pennsylvania simply by permitting web users
                                                                         activities” in Pennsylvania and that his claims “arise out of
     to search for nearby restaurants. Schnur did not allege that this
                                                                         or relate to the defendant's contacts with the forum.” Ford
     feature is “exclusively available to people in [Pennsylvania]”
                                                                         Motor, 592 U.S. at 359, 141 S.Ct. 1017 (cleaned up). There
     or that Session Replay Code is deployed only to users who
                                                                         is no doubt that Papa Johns purposefully availed itself of
     search for Pennsylvania locations. Bryan v. United States,
                                                                         the Pennsylvania market. As Schnur alleged, Papa Johns
     2017 WL 781244, at *10 (D.V.I. Feb. 28, 2017), aff'd, 913
                                                                         “maintains approximately 85 brick-and-mortar locations in
     F.3d 356 (3d Cir. 2019). Nor did he allege that users who
                                                                         Pennsylvania and regularly markets and advertises its goods
     filter for Pennsylvania locations receive uniquely forum-
                                                                         and services within Pennsylvania.” Schnur App. 29. It also
     centric content. See Mavrix, 647 F.3d at 1230. So Papa Johns'
                                                                         regularly “conducts business with [Pennsylvania] residents”
     “Find Your Store” filter does not constitute express aiming at
                                                                         to sell pizza and other products “via [its] [web]site.” Toys, 318
     Pennsylvania. Cf. Fidrych v. Marriott Int'l, Inc., 952 F.3d 124,
                                                                         F.3d at 452.
     143 (4th Cir. 2020) (website's state “drop-down menu[ ] d[id]
     not[ ] ... strengthen [defendant's] jurisdictionally relevant
                                                                          [14] But Schnur's complaint founders at step two, which
     connections”); NexLearn, LLC v. Allen Interactions, Inc., 859
                                                                         requires a “strong relationship among the defendant, the
     F.3d 1371, 1378 (Fed. Cir. 2017) (same).
                                                                         forum, and the litigation.” Hepp, 14 F.4th at 208 (citing Ford
                                                                         Motor, 592 U.S. at 364, 141 S.Ct. 1017). As the District Court
      [12] Finally, Papa Johns' in-forum business activities,
                                                                         held, Schnur's complaint lacks “a specific connection between
     including its operation of 85 restaurants, do not establish
                                                                         Pennsylvania, Papa Johns, and the deployment of Session
     that the company expressly aimed its Session Replay Code
                                                                         Replay Code on [Papa Johns'] website.” Schnur, 2023 WL
     at Pennsylvania. “[T]he Calder ‘effects test’ can only
                                                                         5529775, at *5.
     be satisfied if the plaintiff can point to contacts which
     demonstrate that the defendant expressly aimed its tortious
                                                                          [15] To be sure, whether Schnur's claims “arise out of or
     conduct at the forum, and thereby made the forum the focal
                                                                         relate to” Papa Johns' activities in Pennsylvania is a close
     point of the tortious activity.” IMO Indus., 155 F.3d at
                                                                         call. Ford Motor, 592 U.S. at 359, 141 S.Ct. 1017 (citation
     265 (emphasis added). As Schnur admits, Session Replay
                                                                         omitted). As the Supreme Court recently clarified, while
     Code would have wiretapped him regardless of whether
                                                                         “[t]he first half of that standard asks about causation ...
     he purchased pizza via the website, so Papa Johns' other
                                                                         the back half ... contemplates that some relationships will
     commercial activities do not demonstrate express aiming
                                                                         support jurisdiction without a causal showing.” Id. at 362,
     under Calder. For example, in Wanat, the Ninth Circuit held
                                                                         141 S.Ct. 1017. And “[t]he degree of relatedness required
     that a website operator's “other contacts with the [forum],”
                                                                         in a given case is inversely proportional to the overall
     including service contracts with in-forum users, “fail[ed] to
                                                                         intensity of the defendant's forum contacts.” O'Connor, 496
     establish express aiming” because the plaintiff's suit “d[id] not
                                                                         F.3d at 320 (cleaned up). At first glance, this would seem
     allege violations of the” contracts. 970 F.3d at 1212. Simply
                                                                         to tip the jurisdictional scales in Schnur's favor given Papa


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     Johns' considerable contacts in Pennsylvania. But when               and Papa Johns' use of Session Replay Code. Ford Motor, 592
     we scrutinize those contacts in the context of Schnur's              U.S. at 365, 141 S.Ct. 1017 (cleaned up).
     wiretapping claims, we conclude that the “connection is too
     weak.” Hepp, 14 F.4th at 208.                                        Furthermore, even if Papa Johns' website allows visitors
                                                                          to order food “from nearby stores[,] ... including in
     Consider Ford Motor. In that case, Montana and Minnesota             Pennsylvania,” Schnur App. 39, we are not persuaded that
     residents sued Ford in their respective states, alleging that        the website's accessibility in Pennsylvania establishes the
     defective Ford parts injured them. 592 U.S. at 356, 141 S.Ct.        strong connection between the forum and the litigation that
     1017. Ford argued that the plaintiffs' claims did not arise out      Due Process requires, especially given the unique “doctrinal
     of or relate to Ford's contacts in those states because Ford         questions” that “internet transactions” raise. Ford Motor, 592
     had not designed, manufactured, or sold the defective vehicles       U.S. at 366 n.4, 141 S.Ct. 1017. While the Ford Motor Court
     in either state. Id. The Supreme Court disagreed, noting that        noted that the defective vehicle models were “available for
     “Ford had advertised, sold, and serviced those two car models        sale” in Montana and Minnesota, it also emphasized Ford's
     in both States for many years” and “systematically served a          extensive marketing of those models in the two states through
     market in [those states] for the very vehicles that the plaintiffs   “billboards, TV and radio spots, print ads, and direct mail”
     allege[d] malfunctioned and injured them in those States.” Id.       and its efforts to maintain, service, and repair those models in
     at 365, 141 S.Ct. 1017.                                              those states. Id. at 365, 141 S.Ct. 1017. Here, while Schnur
                                                                          details Papa Johns' promotion of its products in Pennsylvania,
     Those facts demonstrated the “strong relationship among the          he did not, as the Ford Motor plaintiffs did, allege facts
     defendant, the forum, and the litigation” required for the           regarding Papa Johns' in-forum promotion of the device that
     state courts to exercise jurisdiction. Id. (cleaned up). The         allegedly harmed him—the website. 4
     defendant, the forum, and the plaintiffs' claims all shared a
     common link: defective Ford Explorers and Crown Victorias.           We do not hold, as the dissent suggests, that personal
     As the Court stressed, Ford had, “at all relevant times,”            jurisdiction lies only where the out-of-state defendant's
     sold, advertised, and serviced those models in Montana and           forum activities closely resemble Ford Motor's. See Dissent
     Minnesota, the plaintiffs were injured by those models in            199-200. But because the traditional test's “relate to”
     those states, and the lawsuits arose out of the injuries caused      requirement “incorporates real limits,” Schnur must offer
     by those models. Id. at 365, 141 S.Ct. 1017.                         facts regarding Papa Johns' efforts to specifically direct or
                                                                          connect Pennsylvanians to the alleged harm. Ford Motor, 592
     In Schnur's case, Papa Johns' website is analogous to the            U.S. at 362, 141 S.Ct. 1017. And while the dissent correctly
     defective vehicles in Ford Motor, and Session Replay Code            notes that the Supreme Court found jurisdiction proper over
     is like the *194 defective parts contained within those              Ford Motor even though “Ford did not introduce the defective
     vehicles. And although Schnur alleged Papa Johns “heavily            vehicles into the forum states[ ] and the claims related to
     markets its online ordering platform in order to drive               actions that Ford took outside of the forum states,” Dissent
     customers to its website,” which “is a central focus point           200, it overlooks the lengths the Court went to emphasize the
     of [its] business model,” Schnur App. 39, he did not allege          many ways in which Ford promoted, serviced, and marketed
     any facts regarding the company's promotion of its website           the defective vehicle models in the fora. See id. at 365, 141
     in Pennsylvania. Cf. Johnson v. TheHuffingtonPost.com, Inc.,         S.Ct. 1017.
     21 F.4th 314, 321 (5th Cir. 2021) (no jurisdiction over New
     York website in Texas because plaintiffs failed to show that         Our decision in Hepp is instructive as well. In that case,
     the defendant “reached beyond the site to attract Texans to it”      although a defendant had “targeted [its] advertising business
     or “solicited Texan visits”) (emphasis added).                       to Pennsylvania” and sold merchandise to Pennsylvanians
                                                                          via its online store, we emphasized that “none of th[o]se
     Schnur notes that Papa Johns aired a commercial during a             contacts *195 form[ed] a strong connection to [plaintiff's]
     Philadelphia Eagles' Super Bowl game, but he did not allege          misappropriation of ... likeness” claim. 14 F.4th at 208.
     that Papa Johns' website was promoted or featured in the             We emphasized that the plaintiff “did not allege [that]
     commercial. So unlike the plaintiffs in Ford Motor, Schnur's         the merchandise featured her photo,” or that the defendant
     complaint lacks a “strong relationship” between Pennsylvania         “used her likeness to sell advertising.” Id. Likewise here,
                                                                          we conclude that Papa Johns' in-state restaurant sales



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     and marketing activities, as alleged in the complaint, are         (no specific jurisdiction over Illinois company in Maryland
     insufficiently related to Schnur's wiretapping claims. In sum,     “merely” because the company “utiliz[ed] servers owned by
     we hold that Schnur's complaint also fails under the traditional   a Maryland-based company”). In short, FullStory did not
     test. 5                                                            expressly aim at Pennsylvania simply by providing code and
                                                                        other services to a Texas company whose website is accessible
                                                                        in the forum. See Remick, 238 F.3d at 259.

                                   III                                   [17] Nor are we persuaded that FullStory aimed its alleged
                                                                        wiretapping at Pennsylvania just because it knew that
     We turn next to the District Court's order dismissing Hasson's
                                                                        Mattress Firm—or any other company it partnered with
     claims against FullStory and its order denying Hasson's
                                                                        —conducted business in the forum or made its website
     motion for jurisdictional discovery. We begin by noting that
                                                                        accessible there. We have rejected the argument that
     FullStory has fewer contacts with Pennsylvania than Papa
                                                                        “the ‘expressly aiming' requirement is satisfied when the
     Johns. FullStory is a Georgia software company with no
                                                                        defendant is alleged to have engaged in wrongful conduct
     Pennsylvania offices or employees. FullStory did, however,
                                                                        targeted at a plaintiff whom the defendant knows to be a
     produce the Session Replay Code that allegedly wiretapped
                                                                        resident of the forum state.” Budget Blinds, Inc. v. White,
     Hasson in Pennsylvania and received the data collected from
                                                                        536 F.3d 244, 264 (3d Cir. 2008) (cleaned up). Indeed, while
     his browsing session.
                                                                        a defendant's “knowledge that the plaintiff is located in the
                                                                        forum is necessary to the application of Calder,” that “alone
     Hasson argues that Pennsylvania has specific personal
                                                                        is insufficient to satisfy the targeting prong of the effects test.”
     jurisdiction over his wiretapping claims for several reasons.
                                                                        IMO Indus., 155 F.3d at 266.
     He notes that FullStory partnered with Pennsylvania
     companies whose websites are accessible there and other
                                                                         [18] So Hasson had to do more than allege that FullStory
     website operators who do business in the Commonwealth
                                                                        “harmed him while he happened to be residing in
     (like Mattress Firm). He also emphasizes that FullStory
                                                                        Pennsylvania.” Marten, 499 F.3d at 299. He had to plead
     received communications intercepted from Pennsylvanians
                                                                        that FullStory “knew that ... [he] would suffer the brunt
     while they were in Pennsylvania and “commercializ[ed]”
                                                                        of the harm caused by the tortious conduct in the forum.”
     Pennsylvanians' “geographical ... data” by “sending [it] ...
                                                                        Id. at 298 (emphasis added). But Hasson's “allegations and
     to website operators in an analytically useful way.” Hasson
                                                                        evidence ... do not affirmatively prove that [FullStory] knew
     Reply Br. 15. Hasson also argues that, because FullStory
                                                                        that it was targeting him in” Pennsylvania when the code
     received users' geolocation data, the company knows it
                                                                        was dispatched to his browser. Rosenthal, 101 F.4th at 97.
     is collecting communications from Pennsylvanians. He
                                                                        Hasson did not allege that FullStory knew that he—or any
     contends that all these contacts support the exercise of
                                                                        other user— was in Pennsylvania before Session Replay Code
     personal jurisdiction over FullStory under either the Calder
                                                                        was dispatched to his browser. Compared to Papa Johns
     test or the Ford Motor framework.
                                                                        and Mattress Firm, FullStory is a degree removed from the
                                                                        alleged harm, as Mattress Firm's website was responsible
                                                                        for “deliver[ing] session replay-enabling code to a user's
                                    A                                   browser,” not FullStory. Hasson App. 29. Session Replay
                                                                        Code was sent to Hasson's browser because of Mattress
      [16] Starting with the Calder test, we agree with the District
                                                                        Firm's decision to host the code on its website and Hasson's
     Court that FullStory did not expressly aim its allegedly
                                                                        decision to access the website while in Pennsylvania. But
     tortious conduct at Pennsylvania. Hasson did not allege that
                                                                        “jurisdiction over an out-of-state intentional tortfeasor must
     Mattress Firm “intentionally targets [its] site to” Pennsylvania
                                                                        be based on intentional conduct by the defendant that creates
     with forum-centric themes or ads. Toys, 318 F.3d at 452.
                                                                        the necessary contacts with the forum,” not the “unilateral
     And even had he done so, Hasson did not allege that
                                                                        activity of a plaintiff,” Walden, 571 U.S. at 286, 134 S.Ct.
     FullStory knew about—or helped produce—any such forum-
                                                                        1115 (emphasis added) (cleaned up), or a “third person,”
     centric content. Indeed, if a retailer does not expressly target
                                                                        Helicopteros, 466 U.S. at 417, 104 S.Ct. 1868. We therefore
     Pennsylvania merely by operating a website that is accessible
                                                                        conclude that the chain of events preceding Session Replay
     there, neither does a software *196 company simply by
     providing code for that website. Cf. Carefirst, 334 F.3d at 402


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     Code's transmission to Hasson's browser was too attenuated             [21] But rather than decide whether Hasson's complaint
     to satisfy that requirement.                                          alleges sufficient contacts to support jurisdiction under the
                                                                           traditional test, we will vacate and remand for the District
      [19] We also reject that FullStory expressly aimed Session           Court to make this determination. 6 See Penguin Grp. (USA)
     Replay Code at Pennsylvania simply because it knew, based             Inc. v. Am. Buddha, 640 F.3d 497, 501 (2d Cir. 2011). In
     on its collection of geolocation data, that the code was              doing so, the District Court may consider whether FullStory's
     intercepting data from users there. As discussed above, a             other forum contacts—besides those related to Mattress Firm
     defendant's post hoc discovery that the tortious conduct was          —alter its conclusion that litigating in the Western District of
     received in the forum, without more, does not establish that          Pennsylvania “would place an undue burden upon FullStory”
     the company “targeted (or “expressly aimed” [its] conduct             such that “[t]he interests of justice would not be served if
     at) the forum.” IMO Indus., 155 F.3d at 263; see Mobile               FullStory were required to defend itself against this lawsuit in
     Anesthesiologists, 623 F.3d at 447.                                   Pennsylvania.” Hasson, 2023 WL 4745961, at *3.

     For these reasons, we agree with the District Court that                                           ***
     Hasson's complaint fails to establish that FullStory expressly
     aimed its alleged wiretapping at Pennsylvania. So we need not         For the foregoing reasons, we will affirm the District Court's
     address whether the complaint satisfies Calder's other prongs.        order dismissing the case for lack of personal jurisdiction in
     See Marten, 499 F.3d at 297.                                          Schnur v. Papa John's Int'l, Inc., Appeal No. 23-2573. But we
                                                                           will vacate the order dismissing the case for lack of personal
                                                                           jurisdiction in Hasson v. FullStory, Inc., Appeal No. 23-2535,
                                  *197 B                                   and remand for the District Court to apply the traditional test
                                                                           in accordance with Ford Motor. 7
      [20] The District Court applied the Calder framework
     because Hasson alleged intentional torts. See Hasson, 2023
     WL 4745961, at *2. But as Hasson persuasively argues, the
     “effects” test typically applies where the allegedly tortious         PHIPPS, Circuit Judge, concurring in part and dissenting in
     conduct occurs outside the forum but is felt inside the forum.        part.
     Here, by contrast, FullStory's Session Replay Code allegedly          I write separately with an observation about the Calder test
     wiretapped Hasson in Pennsylvania. Though we agree with               and with an articulation *198 of my dissenting position
     its application of Calder, the District Court also should have        that Pennsylvania has specific personal jurisdiction over Papa
     considered whether specific personal jurisdiction was proper          Johns under the traditional test for the claims brought by
     under the traditional test as applied in Ford Motor. And              Jordan Schnur.
     while FullStory's contacts with “other Pennsylvania clients
     who may be using [its] software” may be “irrelevant to
                                                                           1. Calder Sometimes Comes Up Short.
     establish[ing] specific jurisdiction” under Calder's “express
     aiming” rubric, Hasson, 2023 WL 4745961, at *2, it is                 I agree with the Majority Opinion that the Calder test for
     possible that Hasson's claims “relate to” such contacts under         intentional torts is not met here. See Calder v. Jones, 465 U.S.
     the traditional test, Ford Motor, 592 U.S. at 362, 141 S.Ct.          783, 104 S.Ct. 1482, 79 L.Ed.2d 804 (1984). That test requires
     1017 (cleaned up).                                                    that the defendant aim the intentionally tortious conduct at
                                                                           the forum and that the brunt of the harm be experienced in
     As we noted above, in Ford Motor the Supreme Court                    that forum, see id. at 789, 104 S.Ct. 1482, and here, neither
     emphasized that Ford had extensively advertised, sold, and            Schnur nor Hasson sufficiently alleges that either Papa Johns
     serviced Explorers and Crown Victorias in the forum states.           or FullStory aimed their conduct at Pennsylvania. But there
     See id. at 355, 141 S.Ct. 1017. Although those activities             are limits to Calder: its test was developed in the context
     had no direct link to the specific vehicles that injured the          of a defamation claim in which allegedly false information
     plaintiffs, the Court held that those contacts still “relate[d] to”   from outside of the forum was transmitted into the forum.
     the plaintiffs' claims because they involved the vehicle models       See id. at 785, 789–90, 104 S.Ct. 1482. Unlike Calder,
     that injured the plaintiffs. See id. at 361–66, 141 S.Ct. 1017.       the claims in these cases are brought under Pennsylvania's
                                                                           tort of intrusion upon seclusion and its wiretapping statute,


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     18 Pa. Cons. Stat. § 5725, and they concern the capture
     or extraction of information from the forum. Sometimes,             *199 2. Schnur's Claims Against Papa Johns Satisfy the
     the capture or extraction of data from the forum will also         Traditional Test.
     involve action aimed at the forum, and intentional-tort claims
                                                                        My lone disagreement with the Majority Opinion is with
     in those instances may satisfy the Calder test. See, e.g.,
                                                                        respect to its holding that Schnur's claims do not satisfy the
     MacDermid, Inc. v. Deiter, 702 F.3d 725, 730 (2d Cir. 2012)
                                                                        traditional test for specific personal jurisdiction. Even so, I
     (holding that personal jurisdiction was proper in Connecticut
                                                                        take no issue with the Majority Opinion's conclusion on the
     after the defendant used her computer in Canada to access
                                                                        first prong of the traditional test, viz., that Papa Johns has
     servers she knew to be in Connecticut to email herself
                                                                        formed contacts with and “ ‘purposefully availed’ itself of
     files); CollegeSource, Inc. v. AcademyOne, Inc., 653 F.3d
                                                                        engaging in activity in” Pennsylvania through its website and
     1066, 1078–79 (9th Cir. 2011) (subjecting the defendant
                                                                        the 85 physical storefronts that it uses to fulfill orders from
     to personal jurisdiction in California for misappropriating
                                                                        that website. Toys “R” Us, Inc. v. Step Two, S.A., 318 F.3d
     information from the website of a competitor it knew to
                                                                        446, 451–52 (3d Cir. 2003); see also Burger King Corp. v.
     be based in California). But other methods of capturing or
                                                                        Rudzewicz, 471 U.S. 462, 475, 105 S.Ct. 2174, 85 L.Ed.2d
     extracting information from the forum, such as phishing,
                                                                        528 (1985). But as to the second prong of the traditional test,
     cloned websites, and spyware, may not necessarily be aimed
                                                                        see Bristol-Myers Squibb Co. v. Sup. Ct. of Cal., 582 U.S.
     at the forum, and if they are not, then they will not
                                                                        255, 262, 137 S.Ct. 1773, 198 L.Ed.2d 395 (2017), I disagree
     satisfy the Calder test. Although those types of capturing
                                                                        with the conclusion that Schnur's claims do not relate to those
     or extracting information may be equally as malicious and
                                                                        contacts that Papa Johns had with Pennsylvania.
     injurious to persons in the forum, a tortfeasor's indifference
     to the location of the victim would prevent the exercise of
                                                                        Rather, for those claims, there is a “strong ‘relationship
     personal jurisdiction under the Calder test. So as not to reward
                                                                        among the defendant, the forum, and the litigation.’ ” Ford
     or incentivize such indifference by intentional tortfeasors
                                                                        Motor Co. v. Mont. Eighth Jud. Dist. Ct., 592 U.S. 351,
     and to allow states the opportunity to adequately protect
                                                                        366, 141 S.Ct. 1017, 209 L.Ed.2d 225 (2021) (quoting
     their residents, courts, in developing personal-jurisdiction
                                                                        Helicopteros Nacionales de Colom., S.A. v. Hall, 466 U.S.
     jurisprudence in a “common-law fashion,” J. McIntyre Mach.,
                                                                        408, 414, 104 S.Ct. 1868, 80 L.Ed.2d 404 (1984)). As
     Ltd. v. Nicastro, 564 U.S. 873, 885, 131 S.Ct. 2780, 180
                                                                        to the defendant, Papa Johns, it offers online ordering in
     L.Ed.2d 765 (2011) (plurality opinion), could recognize a
                                                                        Pennsylvania, uses a session replay code to record those
     conjugate to the Calder test that balances the interstate
                                                                        orders, and sells pizzas ordered online from its restaurants
     federalism principles underlying personal jurisdiction, see
                                                                        located in Pennsylvania. The forum, Pennsylvania, is where
     World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286,
                                                                        Schnur used his browser to access Papa Johns' website,
     293–94, 100 S.Ct. 559, 62 L.Ed.2d 490 (1980), with the due
                                                                        which through the session replay code, recorded his ordering
     process considerations of “traditional notions of fair play and
                                                                        behavior. It is also where the fulfillment of the online order
     substantial justice,” Int'l Shoe Co. v. Washington, 326 U.S.
                                                                        would take place by one of Papa Johns' stores. The litigation
     310, 316, 66 S.Ct. 154, 90 L.Ed. 95 (1945) (internal quotation
                                                                        complains of and seeks redress for the use of the session
     omitted). Specifically, to hold accountable out-of-forum data
                                                                        replay code to record Schnur's online behavior while using
     pirates who seek to capture or extract data without regard to
                                                                        his browser in Pennsylvania to access Papa Johns' website
     the location of its source, the companion doctrine would allow
                                                                        to consider placing an order from one of Papa Johns' stores
     specific personal jurisdiction over intentional tort claims in
                                                                        in Pennsylvania. See Popa v. Harriet Carter Gifts, Inc., 52
     which the brunt of the harm is experienced in the forum if
                                                                        F.4th 121, 131 (3d Cir. 2022) (explaining that a wiretap
     data is captured or extracted from the forum – instead of
                                                                        occurs where the browser reroutes the communication). As
     requiring proof of aiming at the forum. While such a rule
                                                                        I see it, the strong relationship is clear: the common thread
     would likely result in Pennsylvania's permissible exercise of
                                                                        between the defendant, the forum, and the litigation is Papa
     personal jurisdiction over Papa Johns and FullStory in this
                                                                        Johns' use of a session replay code on its website to record
     case, neither Schnur nor Hasson has advocated for recognition
                                                                        online consumer activity from a browser in Pennsylvania
     of a companion doctrine to Calder.
                                                                        that was used to place orders from Papa Johns' locations in
                                                                        Pennsylvania.




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                                                                        And as recounted above, the relationship here, while not
     In reaching a different conclusion, the Majority Opinion
                                                                        factually analogous to the one in Ford Motor, is stronger than
     argues through analogy that this case differs from Ford Motor.
                                                                        the relationship in that case. There, Ford did not introduce
     It likens Papa Johns' website to the vehicles at issue in
                                                                        the defective vehicles into the forum states, and the claims
     Ford Motor and the session replay code to defective parts.
                                                                        related to actions that Ford took outside of the forum states
     From there, it reasons that because Papa Johns has not
                                                                        – the sale, design, and manufacture of the vehicles. See
     advertised its website in Pennsylvania to the same extent
     that Ford advertised its vehicles in the forum states, there       id. at 354, 141 S.Ct. 1017. By contrast, Papa Johns chose
     must be a lack of the requisite strong relationship among          to use its website to make sales in Pennsylvania, used the
     Papa Johns, Pennsylvania, and Schnur's claims. Embedded in         session replay code in Pennsylvania, and Schnur's claims are
     that reasoning is the assumption that the strong relationship      based on Papa Johns' recording his website behavior on his
     required by Ford Motor can be demonstrated only by facts           browser in Pennsylvania, see Popa, 52 F.4th at 131. With
                                                                        a much tighter nexus among the defendant, the forum, and
     closely akin to those in Ford Motor – a suit against an out-
     of-state manufacturer that advertises a product in the forum       the litigation, there is no need here, as there was in Ford
     and has physical locations in the forum to service and supply      Motor, for additional contacts with the forum, such as through
     the parts for the product, see Ford Motor, 592 U.S. at 365–        advertising of the website or product support of the website,
     66, 141 S.Ct. 1017. But by articulating the strong relationship    to sustain the requisite strong relationship.
     test in general terms, the Supreme Court did not limit it to any
     particular factual scenario. So, even if Papa Johns' contacts      For these reasons, I believe that the traditional test for
     with Pennsylvania are not factually analogous to those that        establishing specific personal jurisdiction is met with respect
     Ford had with the forum states in that case, it could still be     to Schnur's claims against Papa Johns, and I respectfully
     that the strength of Papa Johns' other *200 contacts with          dissent in part.
     Pennsylvania coupled with the different claims brought by
     Schnur are enough to satisfy the traditional test.                 All Citations

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                                                                Footnotes


     1      The District Courts had subject matter jurisdiction over Hasson's and Schnur's claims under 28 U.S.C. §
            1332(d)(2). We review de novo the orders dismissing for lack of personal jurisdiction. See O'Connor, 496
            F.3d at 316. Where, as here, the District Courts did not hold evidentiary hearings on personal jurisdiction,
            we take the Plaintiffs' factual allegations as true. See Miller Yacht Sales, Inc. v. Smith, 384 F.3d 93, 97 (3d
            Cir. 2004) (citation omitted).

     2      Pizza “is recognized as a high consumption food ... of public significance in the American diet” with “13% of
            the U.S. population ... consum[ing] pizza on any given day.” Donna G. Rhodes et al., Dietary Data Brief No.
            11—Consumption of Pizza, Nat'l Library of Med. (2014), https://perma.cc/R5F7-MBPZ.

     3      Because we conclude that Schnur failed to satisfy Calder's “express aiming” prong, we need not address
            whether Schnur adequately pled that he suffered the brunt of the alleged harm in Pennsylvania. See Marten,
            499 F.3d at 297.

     4      Our dissenting colleague suggests that our holding hinges on the fact that Papa Johns has not advertised
            its website in Pennsylvania “to the same extent” that Ford advertised its vehicles in the forum states. Dissent
            199. Not so. We simply note an important distinction between the two cases. While Ford Motor held that
            Ford's extensive promotion of the harm-causing vehicles in the fora strengthened the connection among




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            the defendant, the fora, and the litigation, Schnur does not allege that Papa Johns promoted its website in
            Pennsylvania.

     5      We reject Schnur's assertion that Herbal Brands, Inc. v. Photoplaza, Inc. compels us to reverse. See 72
            F.4th 1085 (9th Cir. 2023), cert. denied, ––– U.S. ––––, 144 S. Ct. 693, 217 L.Ed.2d 389 (2024). There,
            the Ninth Circuit held that Calder's express aiming prong is satisfied “if a defendant, in its regular course
            of business, sells a physical product via an interactive website and causes that product to be delivered to
            the forum.” Id. at 1093. We have not held that simply fulfilling an online sale and causing a product to be
            delivered in a forum suffices for personal jurisdiction. See id. at 1097 (noting the Third Circuit has “reached
            [a] different conclusion[ ] regarding whether sales to a plaintiff or its agents can be a source of jurisdiction”). In
            any event, Schnur's case is distinguishable from Herbal Brands. There, Arizona plaintiffs sued the defendant
            for selling unauthorized products in that state via the internet. See id. at 1088–97. The court concluded that
            “Plaintiff's claims ... clearly ar[o]se out of and relate[d] to Defendants' conduct of selling ... products to Arizona
            residents.” Id. at 1096. But here, Schnur's wiretapping claims neither involve a “physical” product nor arise
            out of (or relate to) Papa Johns' brick-and-mortar operations in Pennsylvania.

     6      We reject FullStory's contention that Hasson waived or forfeited his argument that the District Court should
            have applied the traditional test if it found jurisdiction lacking under Calder. Though Hasson noted in his
            opposition brief that the Supreme Court has articulated “an ‘effects test’ ” “ [f]or specific jurisdiction in tort
            cases,” he did not argue that courts must apply only this test. Dist. Ct. Dkt. No. 34, at 5. Rather, he argued
            that “jurisdiction is also proper under the traditional purposeful availment test.” Id. at 7 (typeface altered and
            capitalizations removed).

     7      Because our decision addresses only personal jurisdiction, we do not consider Defendants' other arguments
            that (1) Plaintiffs consented to the collection of their data when they visited the respective websites; and (2)
            that Plaintiffs' allegations fail to state a claim under WESCA and the common law.



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